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8                             UNITED STATES DISTRICT COURT
9                          SOUTHERN DISTRICT OF CALIFORNIA
10
      JONATHAN SAPAN,                                         Case No.: 13-cv-1964 BEN (RBB)
11

12                    Plaintiff,                              ORDER GRANTING JOINT
13            vs.                                             MOTION TO DISMISS WITH
14                                                            PREJUDICE
      ZAPPER CREDIT SOLUTIONS, LLC, a
15    Nevada Limited Liability Company,                       [Docket No. 20]
16
      NEVADA STATE CORPORATE
      NETWORK, INC., a Nevada corporation,
17    GRAIG ZAPPER, an individual,
18
                                      Defendants.
19

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21
             The parties’ joint motion to dismiss is GRANTED. This action is

22   DISMISSED with prejudice as to all Defendants.
23
             IT IS SO ORDERED.
24

25   DATED: February 2, 2015
26                                                           ______________________________
                                                             HON. ROGER T. BENITEZ
27
                                                             United States District Court Judge
28




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